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              8                        UNITED STATES DISTRICT COURT
              9                       CENTRAL DISTRICT OF CALIFORNIA
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             11    FAIR EDUCATION SANTA                     Case No.: 2:18-cv-10253-SVW-PLA
                   BARBARA, Inc., a 501(c)(3)
             12    organization                             ORDER RE JOINT
                                                            STIPULATION TO CONTINUE
             13                       Plaintiff,            HEARING ON PLAINTIFF’S
                                                            MOTION FOR PRELIMINARY
             14                 vs.                         INJUNCTION TO JANUARY 28,
                                                            2019 AND TO REVISE BRIEFING
             15    SANTA BARBARA UNIFIED                    SCHEDULE
                   SCHOOL DISTRICT, a public school
             16    district; and JUST COMMUNITIES
                   CENTRAL COAST, INC., a
             17    501(c)(3) organization.                    Current Date:      Jan. 14, 2019
                                                              Proposed Date:     Jan. 28, 2019
             18                       Defendants.             Time:              1:30 PM
                                                              Courtroom:         10A
             19
                                                              Trial Date:        None Yet
             20

             21         The Court, having read and considered the Joint Stipulation to Continue
             22   Hearing on Plaintiff’s Motion for Preliminary Injunction to January 28, 2019 and to
             23   Revise Briefing Schedule submitted by Plaintiff Fair Education Santa Barbara, Inc.
             24   (“Plaintiff”) and Defendants Santa Barbara Unified School District (“SBUSD”) and
             25   Just Communities Central Coast, Inc. (“JCCC”) (collectively, “Defendants”), and
             26   finding that good cause exists, hereby ORDERS as follows:
             27   ///

             28   ///


                                                         ORDER
246492.1
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              1              The hearing on Plaintiff’s Motion for Preliminary Injunction set for
              2               January 14, 2019 is hereby vacated and continued to January 28, 2019,
              3               at 1:30 PM or as soon thereafter as may be heard by the Court;
              4              Defendants shall file and serve their opposition to the Motion for
              5               Preliminary Injunction no later than January 7, 2019;
              6              Plaintiff shall file and serve its reply to the opposition no later than
              7               January 14, 2019.
              8   IT IS SO ORDERED.
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             10   Dated this 21st day of December, 2018
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                                                        HON. STEPHEN V. WILSON
             13                                   UNITED STATES DISTRICT COURT JUDGE
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                                                          ORDER
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